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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0562V
                                        UNPUBLISHED


    CYNTHIA D. BRUNO,                                       Chief Special Master Corcoran

                        Petitioner,                         Filed: June 24, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Richard H. Moeller, Moore, Heffernan, et al., Sioux City, IA, for Petitioner.

Kyle Edward Pozza, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 11, 2021, Cynthia D. Bruno filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she received an influenza (flu) vaccination on
October 7, 2019, and thereafter suffered from a left-sided shoulder injury related to
vaccine administration (“SIRVA”). Petition at 1-2. Petitioner further alleges that she
suffered the residual effects of her injury for more than six months. Petition at 6. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On June 23, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent states that “[m]edical personnel at the DICP have reviewed the

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  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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facts of this case and concluded that petitioner’s claim meets the Table criteria for SIRVA.
Specifically, petitioner had no apparent recent history of pain, inflammation or dysfunction
of the affected shoulder prior to intramuscular vaccine administration that would explain
the alleged signs, symptoms, examination findings, and/or diagnostic studies occurring
after vaccine injection; she more likely than not suffered the onset of pain within forty-
eight hours of vaccine administration; her pain and reduced range of motion were limited
to the shoulder in which the intramuscular vaccine was administered; and there is no
other condition or abnormality present that would explain petitioner’s symptoms.” Id. at 4-
5. Respondent further agrees that Petitioner is entitled to a presumption of vaccine
causation. Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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